                Case 1:19-cr-00007-JLT-BAM Document 190 Filed 04/17/20 Page 1 of 1
                                       United States District Court
                                  EASTERN DISTRICT OF CALIFORNIA


                                                          )
               United States of America                   )
                          vs.                             )   Case No.    1:19-CR-00007-NONE-BAM-6
               Olga Hernandez De-Servin                   )
                                                          )

                   CONSENT TO MODIFY CONDITIONS OF RELEASE
I, Olga Hernandez De-Servin , have discussed with                    Anthony Perez               , Pretrial Services
Officer, modifications of my release conditions as follows:

You must participate in a program of medical or psychiatric treatment, as approved by the pretrial services
officer. You must pay all or part of the costs of the counseling services based upon your ability to pay, as
determined by the pretrial services officer.

All other conditions of release not in conflict with this order shall remain in full force and effect.


I consent to this modification of my release conditions and agree to abide by this modification.

/s/ Olga Hernandez De-Servin                  4/16/2020              /s/ Anthony Perez                       4/16/2020
Signature of Defendant                 Date                          Pretrial Services Officer        Date
Olga Hernandez De-Servin

I have reviewed the conditions and concur that this modification is appropriate.

/s/ Kathleen Servatius                                                                             4/16/2020
Signature of Assistant United States Attorney                                             Date
Kathleen Servatius

I have reviewed the conditions with my client and concur that this modification is appropriate.

/s/ Farid Yadegar                                                                                  4/16/2020
Signature of Defense Counsel                                                              Date
Farid Yadegar

                                      ORDER OF THE COURT
x The above modification of conditions of release is ordered, to be effective on 4/17/2020                               .
  The above modification of conditions of release is not ordered.


/s/ Sheila K. Oberto                                                                      4/17/2020
Signature of Judicial Officer                                                             Date
cc:     U.S. Attorney=s Office, Defense Counsel, Pretrial Services
